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                                     Juan Torres
                               817 CII. 4, Apt 1006D
                                San Juan PR 00924
                               j.torres@bigserver.us

                        UNITED STATES DIST RICT COURT
                  FOR THE N ORTHER N DISTRICT OF CALIFORNIA

IN RE:     LITHIUM ION BATTERIES AN TITRUST LITIGATION

      CASE 13-MD-2420 YGR-DMR


                         MOTION TO COMPEL COMPLIAN CE

      I ask this court to compel compliance with Entry 2787 oral approval of the
following: T he Indirect Purchaser Plaintiffs proposed that Claims Administrators
could conduct additional outreach to claimants meeting the following criteria: (i)
the claimants were previously sent "last chance " email outreach; (ii) they
subsequently requested that the Claims Administrators redirect their digital
payments to alternative email addresses (whether or not they made such
requests by the stated deadline); and (iii) the alternative email addresses they
provided were ,deemed "undeliverable.�' Indirect Purchaser Plaintiffs proposed
that, to the extent this supplemental outreach yields additiQnal verified email
addresses for such claimants, those individuals shall receive the payment they
would have received during the first distribution as well as a pro rata share of
the second distribution.


      The Court approved the proposal.

      CH RIS WHIPPS d/b/a DIGITAL PAY/SIPREE IN C has announced on
February 28, 2024, that he is refusing to comply with this procedure and not
going to pay me even though I gave the alternative email.

      My original email to them was October 13, 2023, I said, "My name is Juan
Torres and my payment is pending. I'd appreciate if you can send shortly."

      Chris Whipps wrote on the same day, "We confirm the payment email was
sent to you but it was not claimed. We are unfortunately no longer able to
reissue this request."

     Chris Whipps wrote on October 30, 2023, "T he Court has allowed a short
extension for initial the initial payment distribution. To that end if you provide an
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updated email address to resend the payment email or mailing address to
resend payment by check by no later than Friday, November 3, 2023 we will
update your record to attempt to resend the payment. Please note that if you
do not provide your updated contact information by November 3 we will no
longer be able to reissue your payment."

     On November 2, 2023, I wrote, "Please proceed and direct the payment to
j_t@exploremyspace.com."

       On November 2, 2023, Mr. Whipps stated, "We wll resend the payment
notification to the provided email address, however, please note that this
process can take several weeks."

      On February 27, 2024, I wrote, "I never received the promised payment
email either to this email address or to the alternative email address that I
provided. It is my understanding of the document recently filed into this case
by Mr. Chris Whipps correct that digital payments that did not go through will
once again be attempted? There is no reason that either address should have
not received the email. I have no junk mail or spam filter on either of these two
email addresses."

      On February 28, 2024, Mr. Whipps wrote, "We confirm that the payment
email was sent to you but it was not claimed. We are unfortunately no
longer able to reissue this payment."

      I think I fall into the clear definition of someone who provided the
secondary email address and did not receive the second payment. It's exactly
what he promised to pay, and here he is refusing to pay as if I am supposed to
just overlook this.

      His documents filed with the Court are so vague and this is going to
continue with every one of these mass tort cases that he is involved in.

     This Court needs to create a for al rder requiring him to pay because he
obviously doesn't understand what he ro osed.
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SubJect
From
To
          RE: FW: Payment is pending
          info@reversethecha rge.com <info@reversethecharge.com>
          'j.torres@bigserver.us' <j.torres@bigserver.us>
                                                                                                                rr-• • '[Jr.lr,•!Ji•,�.
                                                                                                                 -...I U, .;..J ,_,,
                                                                                                                                  -,__,
                                                                                                                                          0
                                                                                                                                          t....::::./
Date      2024-02-28 11 :07

We confirm that the payment email was sent to you but it was not claimed. We are unfortunately no longer able to reissue this payment.

Sincerely,
Lithium Batteries Indirect Purchaser Settlement Administrator (MJG)
1-855-730-8645
info@reversethecharge.com

-----Original Message-----
From: j.torres@bigserver.us <j.torres@bigserver.us>
Sent: Tuesday, February 27, 2024 9:47 AM
To: info@reversethecharg�
Subject: Re: FW: Payment is pending

CAUTION: This email originated from outside of Epiq. Do not click links or open attachments unless you recognize the sender and know the
content is safe. Report phishing by using the "Phish Alert Report'' button above.


I never received the promised payment email either to this email address or to the alternate email address that I provided
(j__j;_@exP.loremy2r2ace.com)

Is my understanding of the document recently filed into the case by Mr.
Chris Whipps correct that digital payments that did not go through will once again be attempted?

There is no reason that either address should have not received the email.     I have no junk mail or spam filter on either of these two
email addresses.

Juan Torres



On 2023-11-02 10:36, info@reversethecharge.com wrote:
 We will resend the payment notification to the provided email address,
 however, please note that this process can take several weeks.

Here is a list of valid domains you will encounter when receiving a
digital payment. Should you choose to unsubscribe or report this email
as spam, you will become ineligible to receive a digital distribution
payment.
*         Pre-payment notices for digital payments will be sent from:
P..itr.ments@mail. reversethechargg_R.iJY.ments. com
*         Payment notifications will be sent from:
R.iJY.ments@mail.reversethechargg_R.iJY.ments.com
*         Payment options accessed through the payment email will direct to:
R.iJY.ments@reversethechargg_p�Y.ments.com
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*     Retail eGiftcards (like Target, Starbucks, Amazon, etc.) and Digital
Mastercards will be delivered from:
lithiumbatterY.Settlement@hawkmarketplace.com

Please note that the above emails are unmonitored and are for sending
payments only.

Sincerely,
Lithium Batteries Indirect Purchaser Settlement Administrator (MJG)
1-855-730-8645
info@reversethecharg�


-----Original Message-----
From: j.torres@bigserver.us <j.torres@bigserver.us>
Sent: Thursday, November 2, 2023 7:15 AM
To: info@reversethecharg�
Subject: Re: FW: Payment is pending

CAUTION: This email originated from outside of Epiq. Do not click
links or open attachments unless you recognize the sender and know the
content is safe. Report phishing by using the "Phish Alert Report"
button above.


Please proceed and direct the payment to j_!@exP-loremy2_pace.com

Juan Torres

On 2023-10-30 14:01, info@reversethecharge.com wrote:
 The Court has allowed a short extension for initial the initial
 payment distribution. To that end, if you provide an updated email
 address to resend the payment email or mailing address to resend the
 payment by check by no later than Friday, November 3, 2023 we will
 update your record to attempt to resend the payment.

Please note that if you do not provide your updated contact
information by November 3 we will no longer be able to reissue your
payment.

Sincerely,
Lithium Batteries Indirect Purchaser Settlement Administrator (DEF)
1-855-730-8645
info@reversethecharge.��m

-----Original Message-----
From: info@reversethecharg!h£Qfil
Sent: Friday, October 13, 2023 4:15 PM
To: 'j.torres@bigserver.us' <j.torres@bigserver.us>
Subject: RE: Payment is pending

We confirm that the payment email was sent to you but it was not
claimed. We are unfortunately no longer able to reissue this payment.
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Sincerely,
Lithium Batteries Indirect Purchaser Settlement Administrator (MJG)
1-855-730-8645
info@reversethecharge.c_om


-----Original Message-----
From: j.torres@bigserver.us <j.torres@bigserver.us>
Sent: Friday, October 13, 2023 6:06 AM
To: info@reversethecharg�
Subject: Payment is pending

CAUTION: This email originated from outside of Epiq. Do not click
links or open attachments unless you recognize the sender and know
the content is safe. Report phishing by using the nPhish Alert Report''
button above.


Hi!
My name is Juan Torres and my payment is pending. I'd appreciate if
you can send shortly.

Thanks a lot,
Juan Torres
j_!@exP.loremy.,2P.ace. com




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